Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 1 of 59 Page ID
                                 #:46458




               JANUARY 21, 2022
                 CBP JUVENILE
             COORDINATOR REPORT
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 2 of 59 Page ID
                                 #:46459
                                                                             1300 Pennsylvania Avenue, NW
                                                                             Washington, DC 20229




 January 21, 2022

 MEMORANDUM FOR:               The Honorable Judge Gee
                               District Judge
                               U.S. District Court, Central District of California
                                                                                                       1 /2 0 /2 0 2 2

 FROM:                         Henry A. Moak, Jr.
                               Chief Accountability Officer              X

                               U.S. Customs and Border Protection        S ig n e d b y : P e o p le




 SUBJECT:                      CBP Juvenile Coordinator January 21, 2022 Interim Report

 On November 15, 2021, this Court ordered the U.S. Customs and Border Protection (CBP)
 Juvenile Coordinator, as well as the Juvenile Coordinators for U.S. Immigration and Customs
 Enforcement (ICE) and the U.S. Department of Health and Human Services (HHS), to file an
 interim report by January 21, 2022, to include: (i) the census of minors in each of the agency’s
 facilities; (ii) the average length of stay for minors currently in the agency’s facilities and for
 minors who have been released, with more details to assist the Court and the parties in tracking
 these metrics; (iii) the number of minors currently testing positive for COVID-19; and (iv)
 whether the Juvenile Coordinator has adequate personnel or other capacity to provide detailed
 monitoring of new or expanded facilities. More specifically, this Court directed the CBP
 Juvenile Coordinator to include: (i) a census of Class Members in CBP custody in the Rio
 Grande Valley Sector; (ii) an update on CBP’s policies and capacity for processing minors in
 light of COVID-19, Title 42, and the recent influx; (iii) an update as to whether the conditions at
 the Donna Centralized Processing Center (CPC-DNT), the temporary outdoor processing site,
 and any other facility that serves as a hub for processing minors are safe and sanitary under FSA
 Paragraph 12; and (iv) a status update, if any, on CBP construction or renovation projects related
 to processing Class Members.

 The CBP Juvenile Coordinator submits the following report in response to this Court’s
 November 15, 2021 Order. This report builds on the information provided in the previous
 interim reports submitted on January 15, 2021, March 5, 2021, April 9, 2021, June 4, 2021,
 July 23, 2021, September 3, 2021, and October 29, 2021. Given the nature of the Court’s
 request, this report provides information about the average time in custody (TIC)
 for children and the average number of children in custody across the Southwest Border (SWB),
 as well as more detailed information regarding the Rio Grande Valley (RGV) U.S. Border Patrol
 (USBP) Sector.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 3 of 59 Page ID
                                           #:46460
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 2

 Census of Class Members

 Early in December 2021, RGV Sector encountered several large groups totaling 301 migrants in
 two days, which included 130 family members and one UC.1 In 2021, RGV Sector encountered
 10 groups of 100 or more migrants.2 At the time of signing this report, encounter statistics for
 December 2021 have not been publicly released, and as such, December 2021 data is not
 reflected in Tables 1 through 3 and Table 5 below. Data for December 2021 will be included in
 the next CBP Juvenile Coordinator interim report.

 In November 2021, there was a 10% increase in the number of unique individuals encountered
 compared to October 2021.3 While 66% of total encounters in November 2021 were single
 adults, encounters of UCs rose by 9% and FMU encounters rose by 5% from October 2021 to
 November 2021.4

 The following tables provide additional information regarding encounters at the SWB CBP-wide,
 as well as encounters specific to USBP SWB and RGV Sector.
                   Table 1. CBP Encounters in October 2021 and November 2021
                                                      October       November        % Change7
                                                       20215          20216
                    CBP Single Adults                 108,988        114,419           4.98%
                  CBP UCs/ Single Minors               12,783         13,959           9.20%
                       CBP FMUs8                       42,795         44,939           5.01%
                       CBP AMs9                         187            303             62.03%




 1
   See, Large Number of Migrants Encountered in Brownsville, Texas, U.S. Department of Homeland Security,
 Customs and Border Protection, https://www.cbp.gov/newsroom/local-media-release/large-numbers-migrants-
 encountered-brownsville-texas, (last visited January 20, 2022).
 2
   Id.
 3
   See, CBP Releases November 2021 Monthly Operational Update, U.S. Department of Homeland Security,
 Customs and Border Protection, https://www.cbp.gov/newsroom/national-media-release/cbp-releases-november-
 2021-monthly-operational-update, (last visited January 20, 2022).
 4
   Id.
 5
   See, U.S. Border Patrol and Office of Field Operations Encounters FY 2022, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters,
 (last visited January 20, 2022).
 6
   Id.
 7
   Percent change is from October 2021 to November 2021.
 8
   Family unit represents the number of individuals (either a child under 18 years old, parent/legal guardian)
 encountered as part of a family unit by CBP. A family unit is defined as a noncitizen child/children accompanied by
 his/her/their noncitizen parent(s) or legal guardian(s).
 9
   Accompanied Minors (AMs) are inadmissible children who are accompanied by an admissible parent/legal
 guardian. These statistics are applicable to CBP’s Office of Field Operations (OFO) only.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 4 of 59 Page ID
                                           #:46461
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 3

      Table 2. Comparison of CBP Encounters in October and November FY 21 to FY 22
                                                  FY 2110          FY 2211          % Change
             CBP Single Adults                    125,391          223,407           78.17%
             CBP UCs/ Single Minors                9,401            26,742          184.46%
             CBP FMUs                              9,049            87,734          869.54%
             CBP AMs                                201              490            143.78%


              Table 3. USBP RGV Sector Encounters October and November 2021
                                                 October         November            %
                                                  202112          202113         Change14
                    RGV Single Adults            19,447           22,152         13.91%
                    RGV UCs                       6,963            7,889         13.30%
                    RGV FMUs                     18,982           17,669          -6.92%


  Table 4. Comparison of USBP RGV Sector Encounters in October and November FY 21 to
                                        FY22
                                               FYTD 2115 FYTD 2216             % Change
                   RGV Single Adults            28,665    41,599                 45.12%
                   RGV UCs                       3,485    14,852                326.17%
                   RGV FMUs                      2,772    36,651               1222.19%




 10
    See, U.S. Border Patrol and Office of Field Operations Encounters FY 2021, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters,
 (last visited January 20, 2022).
 11
    Id.
 12
    See, Southwest Land Border Encounters by Component: Fiscal Year to Date (FYTD) Percent Change, U.S.
 Department of Homeland Security, Customs and Border Protection,
 https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters-by-component, (last visited January 20,
 2022).
 13
    Id.
 14
    Percent change refers to October 2021 to November 2021.
 15
    See, Southwest Land Border Encounters by Component: Fiscal Year Percent Change, U.S. Department of
 Homeland Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-
 encounters-by-component, (last visited January 20, 2022).
 16
    Id.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 5 of 59 Page ID
                                           #:46462
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 4

 Table 5 represents the average daily number of individuals in USBP custody across the SWB
 and, more specifically, in RGV Sector, for the months of October 2021 and November 2021.
                          Table 5. USBP Average Daily Subjects in Custody17
                                                      October 2021         November 2021
                     USBP SWB Average                    7,154                 9,415
                     RGV Average                         2,572                 3,498


 Table 6 provides specific information regarding the number of class members in USBP custody
 across the SWB and in RGV Sector as of January 5, 2022, at 6:00 a.m. Eastern Standard Time
 (EST). The January 5, 2022 date was selected to provide a snapshot of the number of class
 members in USBP custody during the time this report was compiled.
                              Table 6. Class Members in USBP Custody on
                                  January 5, 2022 at 6:00 a.m. EST18
                                                                SWB            RGV Sector
                    Number of UCs                                123              40
                    Number of FMU Children                      1,585            128
                    TOTAL                                       1,708            168




 17
    See, USBP Average Daily Subjects in Custody by Southwest Border Sector, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics, (last
 visited January 20, 2022).
 18
    The census of class members in USBP and RGV Sector custody as shown in Table 6 was provided to JCO by
 USBP for the purpose of this report. This is not official data published on cbp.gov.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 6 of 59 Page ID
                                           #:46463
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 5

 Finally, Table 7 depicts the average length of time children were in USBP custody across the
 SWB and in RGV Sector.19 This table shows the average TIC for all children, as well as the TIC
 for UCs and FMU children specifically. Average TIC data is provided for October 2021,
 November 2021, December 2021, and for January 5, 2022. The average TIC on January 5, 2022
 was provided to depict a more recent snapshot of the average TIC for class members as of the
 time this report was compiled.

                      Table 7. Class Members Average USBP Time in Custody20
                                October November December January 5,
                                 2021     2021     2021      2022
                                (Hours)  (Hours)  (Hours)  (Hours)
                            All  48.34     52.6    60.14    102.16
                    USBP
                            UC   27.53    35.63    31.65     17.38
                    SWB
                           FMU   56.35    60.16    68.49    108.74
                            All  43.53    52.27    57.48     44.07
                    RGV
                            UC   25.26    38.18    32.73     12.45
                    Sector
                           FMU   51.08    60.65    69.39     53.95

 Number of Class Members Currently Testing Positive for COVID-19

 As explained in my June 4, 2021 report, CBP conducts health intake interviews, including
 COVID-19 considerations and temperature checks, on individuals in custody upon entry into
 CBP facilities. Individuals entering CBP custody with identified COVID-19 concerns are taken
 from the CBP facility to a local health care facility for further assessment, COVID-19 testing,
 and treatment as appropriate. It is possible that a local health care facility may test an individual
 for COVID-19 if they are referred from CBP for another health reason. In addition, individuals
 in CBP custody, including children, may be tested for COVID-19 by ICE, HHS, or state/local
 partners, as appropriate, upon transfer or release from CBP custody. CBP maintains general
 visibility on all these efforts, but given the multiple lines of effort, does not maintain
 comprehensive data on the number of children who are or have been in CBP custody and may
 have tested positive for COVID-19.

 Monitoring Personnel

 As described in my June 4, 2021 report, I have a dedicated team of six individuals who report
 directly to me and whose primary responsibility is monitoring the Agency’s compliance with the

 19
    TIC represents the amount of time an individual is in CBP custody, beginning at the time of apprehension through
 the time of transfer from CBP custody. Thus, the average TIC for all children is calculated based on the total
 number of children in custody and how long each had been in custody as of 6:00 a.m. EST on a particular day. For
 example, if a child was arrested at 12:00 a.m. EST on January 5, 2022, then the child would have a TIC of six hours
 when TIC was compiled for that day. Likewise, if a child was arrested at 12:00 a.m. EST on January 4, 2022, and
 remained in custody on January 5, 2022, that child’s TIC would be captured at 30 hours when TIC was pulled on
 January 5, 2022.
 20
    The average TIC for class members in USBP facilities as shown in Table 7 was provided to JCO by
 USBP for the purpose of this report. This is not official data published on cbp.gov. The “All” in this table refers to
 all children under the age of 18; no adults are included in these statistics.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 7 of 59 Page ID
                                           #:46464
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 6

 FSA. I am confident in the Juvenile Coordinator’s Office’s (JCO) continued ability to monitor
 CBP facilities across the SWB.

 CBP Status Updates

 This section provides relevant updates related to CBP policy and capacity for processing children
 considering COVID-19, Title 42, and other significant developments. This report does not
 include the CBP and RGV Sector COVID-19 policies discussed in my previous interim reports.

 Capacity for Processing Minors

 CBP continues to assist the Centers for Disease Control and Prevention (CDC) in enforcing its
 Public Health Reassessment and Order Suspending the Right to Introduce Certain Persons from
 Countries Where a Quarantinable Communicable Disease Exists (August 2, 2021).21 As of the
 filing date of this report, the government may still expel single adults and family units in the
 United States traveling from Canada or Mexico (regardless of their country of origin) who would
 otherwise be held in OFO ports of entry or USBP stations for immigration processing.

 All UCs encountered in the United States are processed under Title 8 authorities and transferred
 to the custody of HHS, Office of Refugee Resettlement (ORR) or repatriated to a contiguous
 country in accordance with the Trafficking Victims Protection Reauthorization Act of 2008. On
 July 22, 2021, the CDC published in the Federal Register a Notice “fully excepting UC from the
 October Order.”22 Family units continue to be processed in multiple ways depending on various
 factors as described in my April 9, 2021 report.

 COVID-19 Precautions

 CBP continues to adapt and refine its COVID-19 protocols and guidance based on the most
 current CDC and other applicable guidance. Consistent with CDC guidance, CBP has adjusted
 its facemask requirements for vaccinated and unvaccinated CBP personnel, subject to more
 specific federal, local, operational, or occupational health guidance. In accordance with updated
 DHS directives and consistent with CDC guidance, in areas with “Substantial or “High”
 transmission rates, all CBP employees, onsite contractors, and visitors must wear a facemask
 inside federal buildings. Inside CBP holding areas or when interacting with individuals in
 custody, CBP continues to require CBP personnel to wear facemasks and/or appropriate personal
 protective equipment, depending on the type of contact and risk of exposure. CBP also
 continues to provide facemasks for individuals in custody to wear and continues to encourage
 social distancing to the extent possible.

 At the time of filing this report, RGV Sector has a dedicated station for anyone requiring
 isolation due to illness. Additionally, RGV Sector began facilitating COVID-19 testing by HHS
 of all UCs at CPC-DNT. UCs who test negative enter CPC-DNT and are processed for transfer
 to HHS in accordance with existing procedures. UCs who test positive for COVID-19 and any

 21
      See, 86 Fed. Reg. 42828 (August 5, 2021).
 22
      See, 86 Fed. Reg. 38717 (July 22, 2021).
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 8 of 59 Page ID
                                           #:46465
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 7

 accompanying UC family members (such as siblings) who may test negative are isolated and
 generally transferred to an ORR facility within 12 hours.

 Safe and Sanitary Conditions in USBP RGV Sector

 JCO returned to RGV Sector from November 16 through November 18, 2021, to monitor
 compliance with the FSA. At the time of the inspection, CPC-DNT continued to serve as the
 primary processing hub for UCs and families in RGV Sector, and the Sector continued to utilize
 a temporary outdoor processing site (TOPS) to increase processing capabilities and facilitate the
 expeditious transfer of UCs and families out of CBP custody. While most children in RGV
 Sector custody are held at CPC-DNT, with accompanied children first being briefly held at
 TOPS with their families for intake, JCO also inspected two additional stations in RGV Sector:
 Falfurrias Station and Rio Grande City Station (RGC). JCO selected these locations because in
 the time leading up to the inspection, these stations reported having more children in their
 custody than other stations in Sector, albeit at substantially reduced numbers and length of time
 in custody compared to CPC-DNT. Likewise, the FSA applies to each individual child, and all
 facilities must be prepared to comply with the FSA regardless of whether there is one child or a
 hundred children in custody. At each location, JCO observed operations, inspected the holding
 areas, and when possible, interviewed UCs and families. JCO observed how RGV Sector
 continues to adapt to its operational and logistical constraints to ensure that all four locations met
 the requirements of the FSA for children in custody.

 At the time of the site visit, TOPS was being utilized primarily for field intake of families with
 children six and under. There were multiple portable toilets as well as handwashing stations with
 water, soap, and paper towels available. Various supplies for children and babies were available,
 such as diaper changing stations equipped with diapers, diaper cream, baby wipes, baby bottles,
 and formula. Snacks and water were available throughout the various stages of intake, and the
 supply area appeared adequately stocked with additional food, supply, and clothing items. There
 were medical contract personnel onsite to conduct health intake interviews, which included
 questions about current medical conditions, injuries, medications being taken, and behavioral
 health, as well as COVID-19 considerations, and a temperature check.

 The Deputy Patrol Agent in Charge explained that at their current operational tempo, typically
 the longest time a family would spend at TOPS was waiting for transportation to CPC-DNT.
 JCO observed this intake process from start to finish, which took approximately an hour. After
 the bus arrived at TOPS (migrants are transported to TOPS by bus), migrants exited the bus to
 begin the field intake process. All migrants over two years old were wearing facemasks as they
 exited the bus. Agents provided children and families with bottled water and snacks. After
 initial biographical information was collected, the contract medical personnel conducted health
 intake interviews. Shortly thereafter, migrants reboarded the bus to be transferred to CPC-DNT.

 At the time of the site visit, RGC was being used as an additional staging area for migrants
 encountered in RGC’s area of responsibility prior to their transfer to TOPS to conduct initial
 field intake or directly to CPC-DNT for processing. The staging area was comprised of three
 climate-controlled tents, where families were assigned based on demographics and ages of the
 children. Mats were available inside the tents. There was a covered area for families with tables
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 9 of 59 Page ID
                                           #:46466
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 8

 and benches situated between the tents. Families could freely move between their assigned tent
 and the benches. There were portable toilets and handwashing stations with water, soap, and
 paper towels, as well as five-gallon water jugs with cups. Diapers, diaper cream, baby wipes,
 baby bottles, and formula were also available. Contract medical personnel were onsite to
 respond to emergent medical needs.

 Because RGC was being used primarily as a staging area prior to transfer, agents prepared meals,
 as needed, depending on the length of time migrants were at RGC. Snacks were available, and
 JCO observed agents providing snacks to children. However, JCO also interviewed two families
 who were apprehended during the night before/early morning hours who indicated that they had
 not received a snack or meal until lunch was provided around noon. Because this may be the
 first stop for migrants, and they may arrive at night or outside regular mealtimes, JCO
 recommended making the snacks easily accessible so that migrants could take snacks at any time
 rather than waiting for agents to hand them out. JCO informed the families interviewed that they
 could request snacks at any time and recommended that the station inform children that they
 could request snacks if they did not see them available. JCO also recommended providing Mylar
 blankets in addition to the mats provided to migrants inside the tents. Leadership onsite
 acknowledged and concurred with these recommendations.

 Next, JCO inspected Falfurrias Station. At the time of the inspection, Falfurrias Station
 encountered only a few children daily, and there was only one UC onsite who was in the process
 of being transferred to CPC-DNT. The hold room where the UC was assigned was equipped
 with a functioning toilet and functioning sink with hand soap. At the time of the inspection,
 meals were being prepared and distributed by agents. The Patrol Agent in Charge explained that
 short-term meal contracts had been utilized in the past when there were higher numbers of
 migrants in custody. JCO observed a variety of food and supplies available, including snacks,
 milk, juice, bottled water, mats, Mylar blankets, pre-pasted toothbrushes, feminine hygiene
 products, diapers, diaper wipes, diaper cream, baby formula, baby bottles, and clothing in a
 variety of sizes. The storage area and kitchenette appeared adequately stocked with supplies,
 clothing, food, and snacks to accommodate any children who may briefly be held at the station.
 There were a couple of baby food items identified as past the expiration date by two weeks,
 which were immediately discarded upon discovery. Contract medical personnel were also
 onsite.

 Finally, JCO inspected CPC-DNT, which continued to operate in a manner generally consistent
 with my previous reports. JCO inspected all pods where children were assigned and found that
 they were all within the appropriate temperature range with functioning toilets, functioning sinks
 and hand soap, and functioning hand dryers. Shower facilities and laundry services were
 available. Food service contractors provided three meals each day, and snacks and bottled water
 were available. Contracted medical personnel, caregivers, and janitorial crews were also onsite.

 JCO observed various supplies available, including mats and Mylar blankets, pre-pasted
 toothbrushes, baby formula, diapers, diaper cream, baby wipes, feminine hygiene products,
 facemasks, and clothing in various sizes. JCO also observed that some of the pods holding
 parents with young children did not have baby bottles available within the pod. There were
 additional baby bottles on storage shelves outside of the pod, but parents did not have access to
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 10 of 59 Page ID
                                           #:46467
  CBP Juvenile Coordinator January 21, 2022 Interim Report
  Page 9

  them. JCO raised this to management to ensure that all pods holding young children have baby
  formula and baby bottles available within the pods and that they are periodically restocked to
  ensure parents are not re-using the bottles.

  At the time of the inspection, CPC-DNT was adjusting to reduced levels of National Guard and
  DHS volunteers onsite as well as onboarding a new group of temporary duty agents to replace
  the previous temporary duty agents returning to their duty stations. This adjustment period was
  most evident in more gaps in data entry of custodial actions compared to more recent prior
  inspections, as well as the reduced number of agents assigned to pods. However, based on
  JCO’s observations, children in the pods were constantly supervised and food, snacks, and other
  items were provided despite gaps in recordation. I will continue to engage with RGV Sector and
  monitor conditions of custody across the SWB.

  CBP/RGV Renovation and Construction

  USBP operations at the Central Processing Center-Ursula are anticipated to resume on
  February 7, 2022.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 11 of 59 Page ID
                                 #:46468




                JANUARY 21, 2022
                  ICE JUVENILE
              COORDINATOR REPORT
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 12 of 59 Page ID
                                 #:46469



                               UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA


  JENNY LISETTE FLORES, et. al.,                 )               Case No.: CV 85-4544-DMG
                                                 )
         Plaintiffs,                             )
                                                 )
  v.                                             )
                                                 )
  MERRICK GARLAND,                               )
  Attorney General of the United States, et al., )
                                                 )
                                                 )
         Defendants.                             )
                                                 )


                         JANUARY 2022 INTERIM REPORT
                 OF JUVENILE COORDINATOR DEANE DOUGHERTY
             SUBMITTED BY IMMIGRATION AND CUSTOMS ENFORCEMENT

           As required by the Court in its order issued on November 15, 2021, U.S. Immigration and

  Customs Enforcement (ICE) Juvenile Coordinator Deane Dougherty is submitting the following

  interim report. Due to the constantly evolving nature of the COVID-19 crisis, and the frequency

  of custody and discharge determinations, the information in this report is current and accurate as

  of the time of signature, or for the reported data, as of the date or time noted in conjunction with

  the information provided.

      I. Census of Minors at ICE Facilities 1 (§§ 2(i)-(ii) and 2(b)(i) of the Court’s November
         15 Order)

           As stated in the prior Juvenile Coordinator Reports, ICE revised its family detention

  posture to allow for a broader repurposing of the physical facilities to better meet operational

  needs. ICE is continuing to make nimble, operational changes at its facilities in response to shifting



  1
   There are three types of ICE facilities that can house minors: Family Staging Centers, hotels, and secure juvenile
  detention facilities.

                                                            1
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 13 of 59 Page ID
                                 #:46470



  conditions along the southwest border. While ICE continues to monitor and consider options to

  address the dynamic needs of the southwest border, the agency’s goal is to continue assisting U.S.

  Customs and Border Protection (CBP) with decompression. To this end, ICE is focusing more

  resources on increasing the use and effectiveness of alternative to detention programs for

  noncitizens. With any complex endeavor for which necessary efforts cannot be precisely predicted,

  constant reevaluation and redirection of resources must occur. ICE has chosen to shift its usage of

  all facilities to focus on single adults, consistent with the administration’s goals of addressing

  irregular migration while supporting a system of border management that is orderly, safe, and

  humane. As such, the remaining two Family Staging Centers (FSC) (Karnes and Dilley) were

  transitioned from under-72-hour facilities for families to facilities for single adults.

         On January 14, 2022, there were no Class Members at the ICE FSCs, 77 in hotels, and none

  in secure juvenile detention, for a total of 77 Class Members in ICE custody. The figures below

  breakdown these Class Members by age and country of origin.




                                                     2
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 14 of 59 Page ID
                                 #:46471




          ICE is making continuous efforts to release Class Members without unnecessary delay in

  accordance with paragraphs 14 and 18 of the Flores Settlement Agreement (FSA). The speed by

  which Class Members and their accompanying parent(s) or legal guardian(s) are being processed

  and released from ICE custody has increased significantly. On January 14, 2022, there were no

  Class Members who had been detained at an ICE facility twenty (20) days or more. The chart

  below represents the number of Class Members in ICE facilities as of January 14, 2022, as well as

  the average length of stay (ALOS) for Class Members in ICE facilities during this reporting

  period. 2




  2
   ALOS (calculated in days) for minors in custody is determined by a subtraction between the date the minor is in
  custody and their book-in date to the ICE facility. ALOS (calculated in days) for minors released between October
  22, 2021, and January 14, 2022, is determined by subtracting the released minor’s final book-out date from ICE
  custody and their book-in date to the ICE facility.

                                                          3
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 15 of 59 Page ID
                                 #:46472




     II. Hotels

         A. Update on the Number, Locations, and Safe and Sanitary Conditions at the
            Hotels (§ 2(b)(ii) of the Court’s November 15 Order)

         In March 2021, ICE signed a short-term contract to provide emergency temporary shelter

  and processing services for noncitizen families prior to their release into the United States. The

  contract provided approximately 1,600 emergency family shelter beds and basic living needs

  through December 2021. After December 2021, only 300 of the 1,600 emergency family shelter

  beds remain operational through March 2022. Per the contract, six of the eight locations were

  demobilized and are no longer in use. The remaining two locations will remain open providing

  300 emergency family shelter beds and basic living needs through March 2022. There are no plans

  for an extension beyond that date, as ICE is focusing more resources on increasing the use and

  effectiveness of the alternative to detention programs for noncitizens.

  Below is a list of hotels available to temporarily house and process families, including location

  and operating status:




                                                   4
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 16 of 59 Page ID
                                 #:46473
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 17 of 59 Page ID
                                 #:46474




         Pursuant to section 4(b)(iv) of this Court’s April 24, 2020 Order, the Class Members

  housed in a facility in which either a detainee or staff member have tested positive for COVID-19

  have not been released or transferred to non-congregate settings because they are either (1) in

                                                 6
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 18 of 59 Page ID
                                 #:46475



  quarantine based on CDC guidance and ERO’s PRR as a result of testing positive, or having an

  accompanying family member who tested positive, for COVID-19; (2) will be released as a family

  unit upon testing negative for COVID-19 and coordinating travel arrangements with their sponsor;

  or (3) was pending placement with ORR and has since been transferred.

     IV. Class Members’ Access to Counsel at ICE Facilities (§ 2(vi) of the Court’s November
        15 Order)

           Pursuant to section 2(vi) of the Court’s November 15, 2021 Order, relating to Class

  Members’ access to counsel, there is no new information to report about Class Members’ access

  to counsel since the last Juvenile Coordinator Report.

      V. “Know Your Rights” Handout

           Pursuant to section 2(b)(iv) of the Court’s November 15, 2021 Order, relating to the

  “Know Your Rights” handout disseminated to residents of the FSCs, attached to this report are

  the relevant documents referenced during the last status conference. Attachment A.

      VI. Title 42 Compliance

           Pursuant to section 2(b) of the Court’s November 15, 2021 Order, and section 6 of the

  Court’s September 4, 2020 Order, ordering that the government maintain records and statistical

  information on minors held in Title 42 custody, including an update regarding the number of

  minors held in Title 42 custody, and to monitor compliance with the FSA with respect to minors

  held in Title 42 custody, I can confirm that ICE includes minors temporarily housed by ICE

  pursuant to Title 42 authorities over 72 hours pending expulsion in its monthly Paragraph 28A

  reporting shared with Plaintiffs’ counsel. Between October 19, 2021, and January 10, 2022, ICE

  did not house any Class Members pending expulsion under Title 42 processes at an ICE facility or

  hotel.




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Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 19 of 59 Page ID
                                 #:46476
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 20 of 59 Page ID
                                 #:46477




              ATTACHMENT A
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 21 of 59 Page ID
                                 #:46478
                                                                                            17-100G

                       SOUTH TEXAS FAMILY RESIDENTIAL CENTER
                          ORIENTATION FOR NEW RESIDENTS

  1.    Accounts/Cuentas
  2.    Acculturation/Adaptation, Aculturación/AdaptaciónClothing Issue/Emision de Ropa
  3.    Commissary/General Store/Comisaria/Tienda
  4.    Contraband/Contrabando
  5.    Discipline & Behavior Management/Disciplina y Comportamiento
  6.    Disciplina y Comportamiento (Severidad disciplinaria / Castigo corporal)
        i.e bullying, biting & fighting amongst children/ intimidación, mordidas y peleas entre los
        niños.
  7.    Education/Educacion
  8.    Fire/Emergency Evacuation Procedures (fire drills)/Procedimientos de Evacuacion para
        Incendios y Emergencias
  9.    Free Movement Procedures/Procedimientos de Movimiento Libre
  10.   Grievance Procedures/Procedimiento de Quejas
  11.   Health Services - Access and services (sick call, pill line, mental health, chronic care and
        dental services)/Servicios Medicos-acceso y servicios (llamada a enfermos, linea de
        medicamentos, salud mental, cuidados cronicos, y servisios dentales)
  12.   Hygiene/Higiene
  13.   Laundry Services/Servicios de Lavanderia
  14.   Mail Procedures (legal and general)/Procedimientos de Correo (legal y general)
  15.   Meal Services/Servicios de Comida
  16.   Monitored Child Care/Cuidado de Niños
  17.   Parental Responsibilities and Expectations/Responsabilidades de los Padres y
        Expectativas
  18.   Phones - Access and services (legal and general)/Acceso al Telefono y Servicios
  19.   PREA/Sexual Abuse & Assault Prevention & Intervention/PREA-Prevencion de Asalto y
        Abuso Sexual
  20.   Property Allowances/Packages/Asignaciones de Propiedad/Paquetes
  21.   Recreation/Recreacion
  22.   Religious Services/Servicios Religiosos
  23.   Resident Census Procedures/Procedimientos de Censo de Residentes
  24.   Resident Request Forms/Formas de Solicitud para Residentes
  25.   Smoke-Free Environment/Entorno sin Humo
  26.   Visitation/Visitacion
  27.   Volunteer Work Program/Programa de Trabajadores Voluntarios

  Additional Topics/Temas Adicionales:




  I acknowledge that I have received the Center's orientation regarding the above listed
  procedures./Yo reconozco que he recibido la orientación del centro acerca los temas.


  _                               ______________
  Resident Printed Name/Signature/Nombre/Firma                                 Date/Fecha

  ________________________________________
  Staff Printed Name/Signature                                                 Date


                             Proprietary Information – Not for Distribution
                           Property of South Texas Family Residential Center
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 22 of 59 Page ID
                                 #:46479
                        Acknowledgment of Receipt of Orientation Forms
                                    ENGLISH/SPANISH
   By signing below, I acknowledge that I have received the following forms in my language and have been
   given the opportunity to ask questions regarding each form.
       ●   Phone Use/Instructions
       ●   Talton Free Calls
       ●   “What are my rights?” Form
       ●   Announcement ofPositive Covid-19 Cases
       ●    Covid-19 Safety Precautions
       ●    Proper Removal of Gloves
       ●    Notice of Accommodations or Modifications
       ●   ICE Detention Reporting & Information Line(English)
       ●   ICE Detention Reporting & Information Line(Spanish)
       ●   Fraud Information
       ●   Pro Bono List of Attorneys
       ●   Raices/Raices Sign-Up Form
       ●   American Gateways/American Gateway Sign-Up Form
       ●   KCFRC Orientation
       ●   Go over Resident Handbook
       ●   Any assistance or request speak to GEO staff
   Resident Name:                                                         Resident A#

   Signature                                                                 Date

                    Reconocimiento de haber recibido los formularios de la orientacion

   A1 firmar a continuacion, Yo reconozco que he recibido los siguientes formularios en mi idioma y se me
   ha dado la oportunidad de hacer preguntas con respecto a cada formulario.

       ●   Uso del telefono /Instrucciones
      ●    Llamadas gratuitas de Talton (teldfono)
      ●    La hoja de informacion "^Cudles son mis derechos?”
      ●    Anuncio de casos positives del Covid-19
      ●    Precauciones de seguridad del Covid-19
      ●    Retiro apropiado de guantes
      ●    Aviso de adaptaciones o modificaciones
      ●    Linea de informacion e informes de detencidn de ICE(ingles)
      ●    Linea de informacidn e informes de detencion de ICE(espanol)
      ●    Informacidn sobre fraude
      ●    Lista de abogados pro bono
      ●    Racies/ Formulario de registro de raices
      ●    American Gateways/Formulario de registro de American gateways(abogados)
      ●    KCFRC Orientacidn
      ●    Repase el Manual para Residentes
      ●    Cualquer asistencia o solicitud hable con el personal de GEO
   Nombre del residente:                                              Residente A #

   Firma                                                      Fecha
 Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 23 of 59 Page ID
                                  #:46480




                    PHONE INSTRUCTIONS/ Instrucciones
                    para una llamada telefonica/Enstriksyon telefon

STEP 1: LIFT THE RECEIVER AND PRESS THE NUMBER THAT CORRESPONDS TO THE
LANGUAGE YOU SPEAK./Levante el receptor y oprime el numero que corresponde al idloma que habla./
Leve resepte a epi peze nimewo ki koresponn ak lang ou pale a.

                                                        2'ESPANOL
                     1 = ENGLISH                                                 3= PyCCKMtl
                                                            ABC   /defN
                                                     1 2 3>
                                                    V yv
                                                    r       jklA/^oN
                                                        4           6
                                                                                  6= KREYLEL
                                                            8JL9
                         5= Franfais

                                                    V
                                                        *   0 #y

STEP 2:
                                                                     STEP 3:
ENTER YOURPIN#/Marque su numero de pin/
ANTREPINNOU     |          1                                         RECORD YOUR VOICE PIN
                                                                    (STATE YOUR FULL NAME.NAMEOFTHE FACILITY, AND
                           Communiiasliiyis                         STATE)
                            PIN Momber
                                                                     Grabe su codigo de voz
                          For cjMam*'M rwc*                         (INDIQUE SU NOMBRE COMPLETO, NOMBRE DE LA
                                  211i
                                                                     instalaciPn Y ESTADO)
                           Fniodi ft fontfr
                         C«A «dd IvnOt ID yovr                       ANREJEJEPINVWAOU.
                              flCCOMTC by £oftri0
                           AnUpo»yFoml«
                           C4Mnb it i
                              l»TtondD
                                                                    (Ekri kod vwaou.)
                          866*34a-€231


                                                                                                      /

                                                                                                      \


STEP 4: ENTER TRE PHONE NUMBER YOU WISH TO DIAL. FOR INTERN ATIONAL CALLS,DIAL
011+ NUMBER./ INGRESE EL NOmERO DE TEL^FONO QUE DESEA MARCAR.PARA LLAMADAS
INTERNACIONALES, MARQUE 011+ NUMERO./ANTRE NIMEWOTELEFONEN OU VLE RELE. POU RELE
ENTENASYONAL, DIAL011+ NIMEWO.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 24 of 59 Page ID
                                 #:46481




                               Atencion Residentes:



          Talton Communications (Servicio Telefonico) ie proporciona 13
      llamadas telefonicas gratuitas de 10 minutos cada semana.
          Eso es un total de hasta 520 minutos gratis cada mes. Estos minutos
      se acreditan en su cuenta cada 7 dfas.
          Los minutos NO se acumulan al final de la semana, por lo tanto, si
      no los usa, se expiraran al septimo dia.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 25 of 59 Page ID
                                 #:46482


                             /CUALES SON MIS
                                  DERECHOS?
                                                                 What are my rights?
                                                             Quels sent mes droits?



                                                              Ki dwa mwen genyen?
                         -    -
                                                             KaKOBbi MOM npaea?




       A&K
 AMERICANBARASSOCIATION
                             LINEA DIRECTA DE AYUDA
 Commission on Immigration
                                PARA DETENIDOS
                                                          La American Bar Association
* ^Quienes somos?                                          Comision de Inmigracion
                                                 Recibe llamadas de detenidos para
                                                     Proporcionarles informacion
                                                             y materiales legates


● ^Como ayudamos?                                  Explicamos diferentes formas de
                                                 remedio de inmigracion, tales como
                                                    el asilo, la visa U y las fianzas

                                                          Proporcionamos listas de
                                                 organizaciones legates pro bono
                                                            Ofrecemos reportes de
                                                    derechos humanos en su pai's

● ^Como llamarnos?
                                        1) Siga las instrucciones publicadas en su lista de
                                  Pro Bono Speed Dial para acceder al Sistema Pro Bono
                                     2)Siguiente, marca 2150# cuando se solicite marcar
                                                                 el numero del Speed Dial

 Podemos recibir llamadas en espanol e ingles y a veces en otros idiomas.
    Case 2:85-cv-04544-DMG-AGR Document $1220-1
                                          i     Filed 01/21/22 Page 26 of 59 Page ID
                                     #:46483      V.


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                                                                                     r                         Call for Assistance


                                                                                 ►                                                               4
                                                                                                 ■<QCiS4
                                                                               ' K
                                                                  .^
                                                                                 r
                                                                                                              Appel a I’assistance
                                                                                ]                -» .               clientele
                                                                                                        4       Rele pou asistans
                                                                                         - <<.              Telefone para obter auxilio
                                                                                                               Goi vao nho giup (?&
                                                                          ^.                                Llame para obtener ayuda ^


                         Lmea de informacion y denuncias del
                           Centro de Detenciones del ICE
                                   1-888-351-4024
Todas las partes relaclonadas de alguna manera con el ICE, incluido el publico, los familiares, los abogados, los
                                                                                                              1^^.
lideres religiosos y las organizaciones no gubernamentaies, pueden comunicarse con la Linea de informacion v
denuncias del Centro de Detenciones del ICE para:
● Realizar preguntas generates sobre control de             ● Denunciar que una persona detenida es victima de
   Inmigraclones y detenciones.                               trata de personas u otros delitos.
● Ayeriguar informacion basica sobre un caso de             ● Denunciar que a una persona detenida la separaron de
  inmigracion. Para informarse sobre la fecha de              un hijo menor u otro dependiente, o que tiene otros
  presentacion ante los tribunates de una persona,            problemas parentales.
  llame al 1-800-898-7180.
                                                            ● Denunciar que un detenido padece de una enfermedad
● Denunciar abuso o agresion sexual o fisica                   o trastorno mental grave. Si dicha enfermedad o
  durante el periodo de detencion.                            trastorno afectaran la capacidad de dicho individuo de
● Denunciar problemas de detencion graves o                    representarse a si mismo o de participar en una causa
  sin resolver.                                               judicial sobre inmigracion. tambien debera notificarle el
                                                              hecho al juez de inmigracion.

         El ICE esta comprometido a mantener un dialogo colaborativo y transparente con el publico
                           acerca de la mislon y los valores centrales de la agenda.
               Tiene a su disposicion ayuda con el idioma, que incluye operadores de habla hispana.

 ilCE                                                                                 Operaciones de Control y Deportacion del ICE
                                                        Comprometidos con la transparencia, colaboracion y resolucion de inquietudes
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 27 of 59 Page ID
                                 #:46484



       REUNION DEL AYUNTAMIENTO DE COVID
                            COVID-l9PRECAUCIONES DE SEGURIDAD

  Como precaucioD de seguridad para usted v los demas,le pedimos que usted y su fatnilin
  permanezcan en su habitaci6n en todo momento. El personal medico le informara cuando se
  haya completado su cuarentena obligatoria.Si tiene alguna pregunta o inouietud con respecto a
  su estado medico, diriiase al personal MfenTCO.
                                       K.C.F.R. C. Pautas de seguridad
        Se debe usar un EPP adecuado, que incluya una mascara facial y guantes, en todo momento
       cuando este fuera de su suite y cuando hable con el personal.Todos los residentes de 3 anos en
       adelante deben usar una mascara facial.
           o Los guantes se pueden obtener en cualquier mostrador del parque a pedido.
          o La mdscara facial se puede obtener a pedido del personal de GEO y se distribuyen 2
            mascaras una vez por semana a cada residente.
       El desinfectante de manos tambien esta disponible en todos los parques en la recepcion y la
       cocina. Se alienta a los residentes a usar el desinfectante de manos con frecuencia.
       Las instrucciones sobre como usar adecuadamente los guantes ban sido publicadas en un
       formularioporseparado, sin embargo, si tiene alguna pregunta o inquietud,consulte a cualquier
       miembro del personal.
       Practique el distanciarniento social y mantengase al menos a 6 pies(aproximadaraente 2 brazos)
       de otias personas.
      Lavese las manos a menudo con agua y jabon durante al menos 20 segundos,especialmente
      despues de haber estado fuera de su suite,o despues de sonarse la nariz, toser o estomudar.
      Evite tocarselos ojos,la nariz y la boca con las manos sin iavar.
      Limpie Y desinfecte las superficies frecuentemente tocadas diariamente. Esto incluye
      mesas, pomos de puertas,intemiptores de luz,encimeras,manijas,telefonos,inodoros,grifos y
      fregaderos.Los articulos de limpieza se proporcionan dos veces al dia o bajo peticion durante
      todo el dia.
      Si las superficies est^n sucias,Hmpielas. Use productos de limpieza que le proporcione el
      personal de GEO.
      Si necesita llenar sus dispensadores dejabon,panales para bebes, papel higienico,productos
      femeninos,pasta de dientes,cepillo de dientes o productos de limpieza,notifique al personal
      colocando el letrero verde afuera de su puerta.
      La lavanderia reemplazard la ropa de cama todos los lunes, mi^rcoles y viemes,junto conun
      carabio de sibanas todos los viemes.
      Abstenerse de abrir las puertas v hablar con otros residentes en su sala. Si necesita avuda.
      coloaue el letrero verde en el exterior de su puerta v un miembro del personal e.stard alli
      para avudarlo.
      Notifioue al personal cuando usted o su hiio no se sienten Men o por una cmergencia.

************
               Cualquier inquietud o problema puede set abordado por cualquier personal de GEO.***********
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 28 of 59 Page ID
                                 #:46485




                       Anuncio de casos positives de Covid-19


           La instalacion quena informarle que los residentes en la instalacion
       han dado positive porCOViD-19. Los residentes que dieron positive en
       ese momento estaban en su periodo de aislamiento de catorce dfas, y
       en ningun momento los residentes tuvieron contacto con ningun otro
       residente en la instalacion.

           Continuaremos trabajando con nuestros socios gubernamentaleS;
      ios CDC (Centro de control y prevencion de enfermedades) y los
      departamentos de salud locales correspondientes para implementar (as
      mejores practicas para reducir la exposicion de COVID-19 en las
      Instalaciones.

         Continue practicando el distanciamiento social y los procedimientos
      de higiene de manos adecuados. Su constancia y cooperacion son
      fundamentales y marcan la diferencia.

        Si tiene alguna pregunta, no dude en comunicarse con el personal de
      GEO.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 29 of 59 Page ID
                                 #:46486




         Como quitarse los guantes
         Protejase ejecutando los siguientes pasos al quitarse los guantes



                                                                            B




                 Sujete lo» guAHlei por la parte exterior a                               Oultesc dcspacloelguanle.
                 la altuia de la mufSeca. No toque su plel.                            cmpc2ar>do de la muAcca hacia los
                                                                                       itedos yjalarKlode la parte Interior
                                                                                           hacia la punta dc los dedos.
             B                                                              a



                         Sosienga el guantc quo                                   Inicic et proceso de quitarse el siguienie
                        acaba de quitarse con la                               guantc ponlendo sus dedos dent to del guante
                       otra mano prolcglda por el                                          a la altuta dc la muheca.
                                guante.

             m



                  Jale la parte Interior del guantc hacia                   Elirnlne los guantes dc una rnaneia seguta. No los vuelva a
                  afuera. deje ol primer guante adentto                     usar,
                               del segundo.




                                            I avo sus manos inmedlatarrsentedespur^sde habeise quit ado losgtiarttes.



                                                                                                                                (^ yM/v* A
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 30 of 59 Page ID
                                 #:46487




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        Under Section 504 of the Rehabilitation Act of 1973, Karnes County Family
        Residential Center is able to provide accommodations or modifications for
      residents with disabilities. This includes, but not limited to,any communication
       and mobility impairment. Residents are able to request disability services at
          any time by notifying any GEO employee to be referred to the medical
                            department for further assessment.


       Bajo la Seccion 504 de la Ley de Rehabilitacion de 1973,el Centro Residencial
            Familiar del Condado de Karnes puede proporcionar adaptaciones o
        modificaciones para residentes con discapacidades. Esto incluye, pero no se
         limita a, cualquier comunicacion y o discapacidar. Los residentes pueden
        solicitar servicios para discapacitados en cualquier momento notiflcando a
     cualquier empleado de GEO para que sea referido al departamento medico para
                                        serevaluado.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 31 of 59 Page ID
                                 #:46488



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 Information regarding Fraud:

 Fraud is a crime. Please note that ICE will never request money from you
 or your family, friends, or sponsor. Inform your family of this information
 so they can be aware of fraud.



 Informacion sobre fraude:

 El fraude es un crimen, Tenga en cuenta que ICE nunca !e solicitara dinero
 a usted ni a su fa mi Iia, amigos o patrocinador. Informe a su familia de
 esta informacion para que puedan estar al tanto del fraude.



 Enfomasyon konsenan fwod:

 Fwod se yon krim. Tanprisonje ke ICE pa janm apmandelajan nan men
 ou oswa fanmi ou, zanmi, oswa sipote. Enfome fanmi ou enfomasyon sa
 yo pou yo ka okouran de fwod.


 Informatii privind frauda:

 Frauda este o crima. Va rugam sa re^ineti ca ICE nu va solicita niciodata
 bani de la dvs. sau de la familia dvs., prieteni sau sponsor. Informafi
 familia dvs. despre aceste informafii, astfel Tncat sa poata fi con^tienti de
 frauda.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 32 of 59 Page ID
                                 #:46489




           La lista de "Proveedores de servicios legales pro bono Pro Bono
       Legal Services Providers" son grupos de abogados yasistentes legales
       que estan disponibles para ayudarle con su caso de inmigracion.

         Sus servicios se proporcionan de forma gratuita. Cuaiquier
      pregunta legal que pueda tener debe ser dirigida a un abogado, no a
      un empleado de GEO.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 33 of 59 Page ID
                                 #:46490


     LOP Group Presentation Announcement

    Tiis is to inform you; you have the right to attend an LOP Group Presentation
    directly following the facility orientation. This will be a virtual and interactive
    presentation. In your orientation packet and/or in your room are sign-up forms
    which allows you to sign up at any time during your stay at facility. Simply
    following the instruction ofthe sign-up form and turn into any staff member. Sign
    up form will be forwarded to LOP.


    Esto es para informarle de que tiene derecho e asistir a una presentacion del grupo
    LOP directamente despues de la orientacion de las instalaciones. Sera una
    presentacion virtual e interactiva. En su paquete de orientacion y/o en su habitacion
    hay formularios de inscripcion que le permiten apuntarse en cualquier momento
    durante su estancia en el centre. Simplemente siga las instrucciones del formulario
    de inscripcion y entreguelo a cualquier miembro del personal. El formulario de
    inscripcion se enviara a LOP.


     Isto e para informa-lo; voce tern o direito de participar de uma Apresentagao do
     Grupo LOP (grupo de advogados)logo depois da reuniao de orienta9ao. Esta
     apresenta9ao e virtual e interativa. Em seu pacote de orienta9ao e/ou em seu quarto
     ha formularios de inscri9ao que permitem que voce se inscreva a qualquer
     momento durante sua estadia aqui no centre. Basta seguir as instru9oes do
     formulario de inscri9ao e entregar a um flincionario. O formulario de inscri9ao sera
     encaminhado para a LOP (grupo de advogados).


     Sa a se enfome ou; ou gen dwa pou ale nan yon prezantasyon gwoup LOP
     direkteman apre oryantasyon an plant. Sa a pral yon prezantasyon vityel ak
     enteaktif. Nan pake oryantasyon ou ak/oswa nan chanm ou yo se fom siy ki pemet
     ou enskri nan nenpot ki le pandan ou ap rete nan plant la. Senpleman swiv
     enstriksyon an nan fom nan siy-up epi vire nan nenpot manm anplwaye. Enskn
     fom yo pral voye bay LOP.
    Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 34 of 59 Page ID
                                     #:46491
I    ● Non-Profit Organization
     ●● Referral Service               List of Pro Bono Legal Service Providers                                  updated October 2021
     ●●● Private Attorney
                                    http://www.justice.gov/eoir/list-prp-bono-legal-service-providers
                                 Karnes County Family Residential Center - Family Units
          is:                     -V'                        >.-y.                                       ● i;'      V.-

     American Bar Association Detention and LOP                      American Gateways*
     information Line**
                                                         American Gateways - Austin
     lmmcenter@americanbar.org                           314 E. Highland Mall Blvd., Suite 501
     https://www.americanbar.org/groups/publlc_interest/ Austin,IX 78752
     immigration/                                        Tel:(512)478-0546
                                                         Fax:(512)387-2650
     ● Prose case assistance for detained
       respondents only                                              American Gateways- San Antonio Extension Office
     ● Dial 2150# from the detention center                          2300 W. Commerce St, Suite 313
     ● To contact on behalf of a detained individual,                San Antonio, TX 78207
       email immcenter@americanbar.org.                              Tel:(210)521-4768
     RAICES*                                                         Fax:(210)625-6797
     Refugee and Immigrant Center for Education and
     Legal Services                                                  www.americangateways.org

     2511 North Loop 1604 West, Suite 201                            University of Texas School of Law
     San Antonio, TX 78258                                           Immigration Clinic*

     RAICES Karnes Hotline: 1-855-672-4237                           727 East Dean Keeton Street
                                                                     Austin, TX 78705-3299
     ● Will represent asylum seekers.                                Tel:(512)232-1292
                                                                     Fax:(512) 232-0800
                                                                     www.law.utexas.edu/cllnics/immigration

                                                                     ● Will represent aliens in Asylum cases
                                                                     ● Clinic is closed from May 1st until September 1st




     Dis-claimer; As required by 8 C.F.R.§ 1003.61,the Executive Office for Immigration Review (EOIR), Office of Policy, Office of
     Legal Access Programs maintains a list of organizations and attorneys qualified under the regulations who provide pro bono
     or free legal services. The information posted on the list is provided to EOIR by the Providers. EOIR does not endorse any of
     these organizations or atrorneys. Additionally, EOIR does not participate In, nor is It responsible for, the representation
     decisions or performance of the organizations or attorneys.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 35 of 59 Page ID
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                     REMOTE LEGAL SERVICES AVAILABLE
              DURING CORONAVIRUS (COVID-19) PANDEMIC
      American Gateways is a non-profit immigration legal services provider that offers legal orientations
           and pro se workshops for individuals detained at the Karnes Family Residential Center.
       American Gateways is NOT part of the U.S. government, immigration court, or detention center.
            Our services are FREE and they are meant to provide you with general information.
                              NOT TO PROVIDE YOU LEGAL ADVICE

    ^ 'Individual
     If you would like to speak about your case with someone from our San Antonio office,
                     please call 210-521-4768 ext. 232 fi’om 8 am - 12 pm.

      If no answer, please leave a voice message including your NAME. A NUMBER.
                             and the type of assistance you need.
          Oyer the                                                              _l!>


                           Call 210-521-4768 ext. 235 with Jessica
                            or 210-521-4768 ext. 238 with Marco
                               Email — aQ.loD.karnes@Qmail.CQm
                                     Fax-210-625-6797
                         Mail to American Gateways-LOP Karnes to:
                    2300 W. Commerce St. Ste. 313, San Antonio, Tx 78207
  If you do not have access to mail, email, or fax, speak with a GEO employee at the detention
               center and let them know you need to contact American Gateways.
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                    American Gateways Guide for Detained Immigrants
            Immigration Applications (e.g. Asylum, Cancellation of Removal, etc.)

                                    ***PLEASE NOTE***
 If American Gateways assists you with one of the services listed above,
 it does not mean that American Gateways is representing you in your
 case.
                                  Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 36 of 59 Page ID
                                                                   #:46493
DATE:       Karnes


Su flrma abajo signiflca que usted entiende lo siguiente:                                              Signing below means you understand the following:
Participacion en una orientacion individual o en grupo no significa quc usted                          Participating in an individual or group orientation does not mean that I will be
sera representado por American Gateways. Entiendo que la informacion que
                                                                                                       represented by American Gateways. I understand that the information I have
proporciono no sera compartida con el juez de inmigracion ni con ICE sin mi
                                                                                                       listed will not be shared with the immigration judge or with ICE without my
consentimiento. Por favor indique si gustaria ser llamado por telefono para
una orientacion individual.                                                                            consent. Please indicate if you would like to be called by phone for an
                                                                                                       individual orientation.
            Nombre/Name                                    A#                   Nacionalidad/ Nationality   Gencro/Gender              Idioma/           ^Llamada Individual?/
                                                                                                                                      Language              Individual Call?
          Ejcmplo/Examplc: Maria Garza                 123456789                  Mexican®/                 MujerAVoman         Espanol/English                      Si/Yes
                                                                                   Mexican

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  Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 37 of 59 Page ID
                                   #:46494




                                                      RAICES


                          ENGLISH                                                      ESPANOL

 Do you and your family need free legal help?                 Usted y su familla necesitan ayuda legal sin costo?
We are an organization of attorneys and legal assistants      Somos una organizacion de abogados que ofrece asesona
that offers free legal orientation and services to detained   y servicios CRATUITOS a personas detenidas.
 persons.                                                     Si nunca ha tenido cita con nosotros y necesita la
If you have not had an appointment with us and need           consutta Inicial llamenos al 855-672-4237 de 8;30am a
an initial consultation call us at 655-672-4237 between       5:30pm, lunes a viernes.
8:30 AM and 5:30 PM, Monday through Friday.                   Si sabe su fecha de entrevista o reclbio decision nos
If you know your interview date or you received a             puede llamar al 855-672-4237 de 8:30am a 5:30pm. lunes
decision you can call us at 855-672-4237 from 8:30 AM to      a viernes.
5:30 PM, Monday through Friday.                               Si tiene preguntas o desea una cita, por favor liamennos.
If you have questions or want an appointment with us,         Si necesita un telefono puede pedirselo a uno de los
please call. If you need a phone, you can ask one of the      guardias.
guards for one.
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                                                                                       UNCALA

Voce e a sua familia precisam de ajuda legal gratuita?        Eske Yo na Libota na yo boza na posa ya lisungi ya
Nos somos uma organizagao de advogados e assistentes          batu ya mibeko (avocats)?
legais que oferece assessorla e servigos legais gratuitos     Toza lisanga ya batu ya mibeko (avocats) pe to sungaka
para as pessoas detidas,                                      pona makambu oyo etali mibeko na ndenge esengell na
Se voce nunca tern tido uma consulta conosco e                loienge mibeko ezali ko senga pe to salaka yango ofele
precisa de uma consulta Inlclai, ligue para nos ao 855-       pona ko sunga batu oyo bakangami na boloko.
672-4237 entre as 8h30 e 17h30,segunda a sexta.               Soki nanu bokutani na biso te, pe soki bozali ko luka
5e voce sabe a data da sua entrevista ou recebeu uma          bokutani ya llboso na bIso, benga bIso na: 855-672-
decisao, pode Iiga-n6s ao 855-672-4237 entre as 8h30 e        4237 ko banda 8h30 til na 17h30, ko banda mukolo ya
17h30. segunda a sexta.                                       Lundi tii na mokolo ya Vendredl.
Se tiver perguntas ou se quiser uma consulta conosco. por     Soki oyebi mukolo nayo ya ko samba to soki ozwl
favor ligue para nos, Se precisar de um telefone, pode        eyano sima ya ko samba nayo, okoki ko benga biso na:
pedir um aos guardas.                                         855-672-4237 ko banda 8h30 tii 17H30. ko banda Lundi tii
                                                              Vendredi.
                                                              Soki ozali na mituna to soki olingl okutana na biso. benga
                         FRAN^AIS                             biso. Soki olingf lisungi ya telephone pona ko benga
Avez-vous et votre famille besoln d’alde legale               biso, okoki ko senga yango epayi ya mokengeii
                                                              boioko.
gratulte?
Nous sommes une organisation d'avocats et d'assistants
legaux qui offre du conseil juridique et des services                                  CREOLE
juridiques gratuits aux personnes en detention relative a
I'immigration.                                                Eske ou menm ak fanmi ou bezwen ed legal gratis?
Si vous n’avez Jamais eu un rendez-vous avec nous et          Nou se yon ogantzasyon ki gen avoka ak asistan legal ki
vous avez besoin d'une consultation initlaie,                 ofri oryantasyon legal gratis ak sevis pou moun ke yo arete.
tei^phonez-nous au 855-672-4237 entre 8h30 et 17h30,          Si ou pat gen yon randevou avek nou e ou bezwen
lundi h vendredl.                                             yon premye konsiltasyon rele nou nan655-672-4237
Si vous savez la date de votre entrevue ou si vous avez       ant 8:30 AM ak 5:30 PM,lend!jiska vandredi.
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855-672-4237 entre 8h30 et 17h30. lundi S vendredi.           desizyon ou ka rele nou nan 855-672-4237 ant 8:30 AM
Si vous avez des questions ou souhaitez un rendez-vous        ak 5:30 PM,lend!jiska vandredi.
avec nous, veuillez nous telephoner. Si vous avez besoin      Si ou gen okenn kesyon oswa ou vie yon randevou avek
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gardes.                                                       mande youn nan gad yo pou youn.
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 38 of 59 Page ID
                                 #:46495




                                         Raices
   ENGLISH - To speak to a free lawyer from RAICES call 855-672-4237 or write your name below. If we do
   not answer, please leave a voice message with your name and A# so that we can schedule an
   appointment to speak with you.
   ESPANOL - Para hablar con un abogado de RAICES sin costo, llame al 8SS-672-4237 o escriba su nombre
   abajo. Si no contestamos, por favor deje un mensaje de voz con su nombre y numero A para que podamos
   programar una cita para hablar con usted.
   PORTUCUES - Para falar com um advogado de RAICES sem custo, ligue ao 855-672-4237 ou escreva o
  seu nome abaixo. Se nao respondemos, por favor deixe uma mensagem de voz com o seu nome e
   numero A para que possamos marcar uma consulta para falar com voce.
   FRAN<?AIS - Pour parler a un avocat gratuit de RAICES, appelez le 855-672-4237 ou ecrlvez votre nom
  ci-dessous. Si nous ne repondons pas, veulllez lalsser un message vocal incluant votre nom et votre
   numero d'etranger (A#) de sorte que nous puissions prendre rendez-vous pour vous parler.
  LINCALA - Pona ko solola na Avocat ya ofele ya RAICES,esengell ko benga 855-672-4237 to koma kombo
  na yo na lolenge oyo. SokI to ya noli te, tikela biso message ya maloba na kombo pe na numero na yoya
  Gtranger (A#) po esunga biso to bongisa bo kutani na biso na yo.
  KREy6l AYISYEN — Pou pale akyon avoca gratis nan RAICES, rele 855-672-4237 oswa ekri non ou anba a.
  SI nou pa reponn,tanpri kite yon mesaj vwa ak non ou ak A # pou nou ka pran yon randevou pou pale
  avek ou.


Name/Nombre/Nome/Nom/Kombo/Non
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 39 of 59 Page ID
                                 #:46496
     Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 40 of 59 Page ID
                                      #:46497

                                    WHAT ARE MY
                                        RIGHTS?
                                                             ¿Cuáles Son Mis Derechos?
                                                                   Quels sont mes droits?

                                                                                ‫ﻣﺎ ﻫﻲ ﺣﻘﻮﻗﻲ؟‬
                                                                   Ki dwa mwen genyen?

                                                                   Каковы мои права?
                                                                             我有什么权利？

                                  Detention and LOP
                                   Information Line
    Who are we?                                               The American Bar Association's

                                                                 Commission on Immigration

                                                             receives calls from detainees to

                                                   provide legal information & resources

    How can we help?                                          Explain types of relief such as:

                                                                         Asylum, U-Visa, Bond
                                                                                  Provide lists of

                                                             Pro-Bono Legal Organizations
                                                                                Offer reports on

                                                      Country Conditions & Human Rights
    How do you call?
                             1) Follow the instructions on your posted   Pro Bono Speed Dial List
                                                                  to access the Pro Bono System

                            2) Next, enter   2150# when prompted to enter the speed dial number

We can receive calls in   SPANISH & ENGLISH and occasionally OTHER LANGUAGES
 Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 41 of 59 Page ID

                        ¿CUÁLES SON MIS
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                             DERECHOS?
                                                               What are my rights?

                                                           Quels sont mes droits?

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                                                           Каковы мои права?
                                                                   我有什么权利？

                        LÍNEA DIRECTA DE AYUDA
                            PARA DETENIDOS
¿Quienes somos?                                        La American Bar Association

                                                            Comisión de Inmigración

                                               Recibe llamadas de detenidos para

                                                     Proporcionarles información
                                                             y materiales legales

¿Cómo ayudamos?                                  Explicamos diferentes formas de

                                              remedio de inmigración, tales como

                                                   el asilo, la visa U y las fianzas

                                                           Proporcionamos listas de

                                               organizaciones legales pro bono
                                                             Ofrecemos reportes de

                                                   derechos humanos en su país
¿Cómo llamarnos?
                                      1) Siga las instrucciones publicadas en su lista de
                                Pro Bono Speed Dial para acceder al Sistema Pro Bono

                                   2) Siguiente, marca 2150# cuando se solicite marcar
                                                              el número del Speed Dial


Podemos recibir llamadas en    español e inglés y a veces en otros idiomas.
   Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 42 of 59 Page ID
                                    #:46499


                                  WHAT ARE MY
                                      RIGHTS?
                                                          jCuales Son Mis Derechos?
                                                                 Quels sont mes droits?


                                                                 Ki dwa mwen genyen?
                                                                KaKOBbi MOM npasa?




                                   Informations sur la
    AMERICANBARASSOCIATION         detention et les niveaux
    Commission on Immigration
                                   de recours(LOP)
 ● Qui sommes-                            La Commission d'lmmigration de TAssociation
   nous ?                                 du Barreau Americaine accepte les appels des
                                                         detenus pour leur fournir des
                                                informations et des ressources legales.


 ● Comment                                                Expliquer les types de recours :
                                                                   Asile, U-Visa, Caution
                                                                  Fournir une liste avec :
   pouvons-nous
                                                      Organisations Legales Gratuites
   vous aider ?                                                Offrir des rapports sur :
                                                Conditions des Pays et Droits Humains

 ● Comment appeler ?
                                       1) Suivez les instructions sur Pro Bono Speed Dial List
                                                        pour acceder au systeme Pro Bono/Gratuit
                           2) Puis, composez le numero abrege 2150# quand on vous le demande


On accepte des appels en ESPAGNOL & ANGLAIS et occasionnellement en d'AUTRES LANGUES
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 43 of 59 Page ID
                                 #:46500




                JANUARY 21, 2022
                 ORR JUVENILE
              COORDINATOR REPORT
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 44 of 59 Page ID
                                 #:46501



                              ORR JUVENILE COORDINATOR INTERIM REPORT

                                              January 21, 2022

                             Aurora Miranda-Maese, ORR Juvenile Coordinator


                                               Introduction

  In accordance with the April 24, 2020 Order, issued by The Honorable Dolly M. Gee of The United States
  District Court for the Central District of California, the undersigned ORR Juvenile Coordinator, Aurora
  Miranda-Maese, has filed periodic interim reports during the pendency of the national health emergency
  related to the COVID-19 pandemic. Subsequently, at the May 7, 2021 status hearing, the Court issued a
  new Order, which modified the six original topics. At the last status hearing on November 12, 2021, the
  Court ordered the ORR Juvenile Coordinator to report on these topics as noted below. This report covers
  the period from October 16, 2021 to January 19, 2022.

  1) The census of minors in each of the agency’s facilities.

  2) An explanation for why some existing beds in licensed facilities and Influx Care Facilities are
     unoccupied, given the sizeable numbers of tender-age minors who are being held for extended
     periods in the EIS’.

  3) The average length of stay for minors in the agency’s facilities and for minors who have been released,
     with more details as to methodology to assist the Court and the parties in tracking these metrics.

  4) Whether the Juvenile Coordinator has adequate personnel or other capacity to provide detailed
     monitoring of new or expanded facilities.

  5) Census of minors in an EIS for more than 20 days and those minors’ length of stay.

  6) Updates on ORR’s plans to improve case management and expedite release of minors.

  7) Updates on ORR’s plans, if any, to expand capacity, particularly of licensed shelter beds.

  8) Updates on ORR’s plans, if any, with respect to long-term use of EIS’ and processes to transfer minors
     from EIS’ into licensed facilities, if release to a sponsor is not feasible.

  9) The number of minors currently testing positive for COVID-19.

  10) Updates on ORR policies regarding the use of EIS’, including policies and procedures to address COVID-
      19.




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Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 45 of 59 Page ID
                                 #:46502
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 46 of 59 Page ID
                                 #:46503
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 47 of 59 Page ID
                                 #:46504
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 48 of 59 Page ID
                                 #:46505
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 49 of 59 Page ID
                                 #:46506
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 50 of 59 Page ID
                                 #:46507
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 51 of 59 Page ID
                                 #:46508
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 52 of 59 Page ID
                                 #:46509


  8) Updates on ORR’s plans to improve case management and expedite release of minors.

  On March 22, 2021, ORR issued guidance for the expedited release of eligible Category 1 cases (see ORR
  Field Guidance #10, Expedited Release for Eligible Category One Cases). ORR has prepared this field
  guidance to best serve minors in ORR custody who have parents or other potential Category 1 sponsors
  in the United States. Based on this guidance, a minor may be released on an expedited basis to their
  sponsor provided that the following conditions are met:

         If the child is screened and determined not to be especially vulnerable;

         If the child is not subject to a mandatory TVPRA home study; and

         If there are no other red flags present in the case (i.e. abuse or neglect)

  In cases where expedited release is appropriate, ORR authorizes care providers to pay for the sponsor’s
  travel to the ORR care provider facility to pick up the minor and complete paperwork at the facility (if
  approved). Travel arrangements should be made as soon as it appears that the minor’s release is viable.

  Additionally, ORR issued further guidance on May 14, 2021 for the expedited release of eligible minors
  (see ORR Field Guidance #15, Release of Eligible Non-Sibling, Closely Related Children to a Category 1 or
  Category 2A Sponsor). ORR prioritizes the placement of minors with parents, legal guardians, and close
  relatives who are available to provide custody in the United States. To that end, ORR instituted a revised
  policy for groups of closely related minors, which allows for the following:

         Expedited Release Procedures for Eligible Category 1 Cases to apply to a related child for whom
          the same sponsor serves as a Category 2 sponsor; and

         Category 2A background check requirements to apply to a related child for whom the same
          sponsor serves as a Category 2B sponsor

  Under this policy, certain minors will be released to their parents or legal guardians (or Category 2A
  sponsors) using specialized procedures that modify standard release requirements under the ORR Policy
  Guide. In recognition of operational flexibilities that may require additional follow up, this field guidance
  may be further modified by ORR.


  9) Updates on ORR’s plans, if any, to expand capacity, particularly of licensed shelter beds.

  Recognizing that most of these licensed facilities are near full capacity, ORR is reviewing new proposals
  offering additional licensed programs, and continues to accept recipient initiated supplemental requests
  for programs who can add additional capacity to existing programs. Also, current programs are exploring
  additional licensed facilities within their organizations. In December 2021, ORR posted a Notice of Funding
  Opportunity which will add additional capacity through new grants to the shelter/TFC network.

  Despite these assertive and ongoing efforts to increase licensed bed capacity, the current influx levels
  have necessitated the need for ORR to continue operating a non-state licensed Influx Care Facility (ICF)
  and continue to use EIS facilities. The EIS facilities are part of a multi-pronged approach to absorb the
  surge of minors.

                                                        9
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 53 of 59 Page ID
                                 #:46510
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 54 of 59 Page ID
                                 #:46511


  effort to expand eligibility for long-term foster care (LTFC) for certain Category 4 minors. Under this field
  guidance, minors meeting the following conditions are eligible for LTFC:

         Is a Category 4 case and remains without a sponsor or potential sponsorship options;

         Is currently placed in a state-licensed ORR care provider shelter (specifically a congregate care
          setting); and,

         Is not otherwise ineligible for LTFC under ORR Policy Guide Section 1.2.61 due to a moderate or
          high escape risk; criminal history or concerns about dangerousness; or the minor is seeking
          voluntary departure.

  Placement delays have significantly reduced, and ORR remains focused on addressing minors with lengthy
  LOS at EIS and licensed facilities. These efforts include continuing assessments of methods of expediting
  release, transfer of minors to licensed facilities when release is not imminent and encouraging the
  expansion of licensed care facilities. ORR’s efforts are flexible and dynamic as the situation requires
  readjustments in real time as new concerns emerge and issues change.

  In addition, ORR is working with other agencies, establishing collaborative relationships with Customs and
  Border Patrol (CBP) and the Federal Emergency Management Agency (FEMA) to ensure that
  unaccompanied migrant minors are safe and unified with family members or other suitable sponsors as
  quickly and safely as possible.


                                        COVID-19 in ORR Facilities

  As of January 12, 2022, there are a total of 162 minors in ORR custody in licensed shelters who have been
  diagnosed with COVID-19 and who are currently in medical isolation. Eighty (80) of these minors were
  diagnosed with COVID-19 either prior to placement in ORR facilities or during the initial intake period (first
  14 days), and eighty-two (82) minors likely acquired COVID-19 while in ORR facilities (more than 14 days
  after arrival). Minors who test positive for SARS-CoV-2 more than 14 days (the maximum incubation
  period for SARS-CoV-2) after being admitted to ORR care were likely infected while in ORR care, through
  contact with infected staff members or other minors, or in community settings within the facility or
  medical office visits. It is often not possible to determine the exact timing and source of infection because
  many minors are asymptomatic and because a person who has recovered from COVID-19 may continue
  to have a positive test result for several weeks after illness.

  As of December 20, 2021, the Omicron variant had been detected in most states and was rapidly spreading
  through the U.S. due to increased transmissibility of the variant and the ability to evade immunity from
  past infection or vaccination. Breakthrough infections in people who are fully vaccinated have occurred,
  although the current vaccines are expected to protect against severe illness, hospitalization and death. All
  COVID-19 prevention and control measures remain in place at ORR facilities.

  ORR usually places minors newly referred along the Southwest Border into shelters local to the site of
  referral. On March 13, 2021, ORR issued guidance (COVID-19: Interim Guidance for Shortening Quarantine
  Duration and Increasing Testing for ORR Facilities) that now recommends minors be quarantined for seven

                                                       11
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 55 of 59 Page ID
                                 #:46512


  days. Minors are released from quarantine if they remain asymptomatic and test negative both on entry
  to the program and within 48 hours before the end of their quarantine period. To decrease overcrowding
  at CBP facilities, shortening the quarantine period to seven days with a negative test result is advised
  based on CDC recommendations at all ORR facilities.

  According to the revised ORR guidance issued on March 13, 2021, contact tracing should begin
  immediately if anyone tests positive for COVID-19. Minors who test positive for COVID-19 will be isolated
  until they meet the criteria to discontinue isolation. Minors exposed to COVID-19 shall be quarantined
  for seven days and tested by the 5th, 6th or 7th day of their quarantine. Minors will be released from
  quarantine upon receiving a negative test result.

  Since the beginning of the pandemic, more than 272,841 COVID-19 viral tests have been completed
  for the unaccompanied minors in ORR’s program.

  ORR does not require that staff disclose their private medical information as it relates to COVID-19;
  however, some staff voluntarily reported this information. Since collecting information, ORR has been
  notified of 1,921 (cumulative) personnel with positive COVID-19 test results as of January 12, 2022.

  On December 31, 2021, ORR issued new ‘return to work’ guidance for program staff who are isolating
  with a COVID-19 infection or quarantining due to exposure to COVID-19. This guidance was developed in
  collaboration with the CDC and allows ORR to maintain critical staffing levels and services while minimizing
  COVID-19 risks to minors. Staff with positive COVID-19 test results are required to medically isolate for at
  least 5 days and may return to work on day 6 if they test negative with a COVID-19 antigen test and their
  symptoms are absent or improving.

  Staff with suspected exposure to COVID-19 have different quarantine requirements depending on their
  vaccination status and whether they develop COVID-like symptoms. Quarantine ranges from 0 days for a
  fully vaccinated and boosted staff member who remains symptom-free to 5 days for a staff member who
  develops COVID-like symptoms. Per ORR guidance, staff returning from isolation or quarantine must wear
  appropriate masks or respirators while working.

  At this time, care provider program staff who are eligible for the COVID-19 vaccine based on the CDC’s
  Advisory Committee on Immunization Practices (ACIP) recommendations and the recommendations of
  their state and local jurisdictions may opt to receive the vaccine, which is now readily available to adults.


  11) The number of minors currently testing positive for COVID-19.

  The Juvenile Coordinator consulted with the Division of Health for Unaccompanied Children (DHUC) to
  determine the likely source of infection for minors who were diagnosed with COVID-19 and are currently
  in medical isolation. Figure 9 below provides the census data for these minors as of January 12, 2022.




                                                       12
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 56 of 59 Page ID
                                 #:46513
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 57 of 59 Page ID
                                 #:46514
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 58 of 59 Page ID
                                 #:46515


  12) Updates on ORR policies regarding the use of EIS’, including policies and procedures to
      address COVID-19.

  The CDC and the Southwest Border Migrant Health Task Force (SWBMHTF) is providing technical support
  and guidance to Emergency Intake Sites (EIS) on COVID-19 and communicable disease prevention and
  control. The ORR Division of Health for Unaccompanied Children (DHUC) meets with SWBMHTF several
  times a week to discuss ongoing guidance, developments and to troubleshoot site-specific issues that
  arise.

  SWBMHTF currently recommends the following COVID-19 testing protocol for minors at EIS facilities.
  Specific protocols are adapted to each EIS as necessary to work within any resource constraints. Prior to
  a minor being transported to an EIS they are tested for COVID-19. Minors are tested every three days
  subsequent to their arrival to an EIS. Also, a minor is immediately tested if symptoms of COVID-19 develop.

  Minors are required to quarantine for the first 7 days after admission to an EIS and can be released from
  quarantine on the morning of day 8 if they remained asymptomatic and had a negative COVID-19 test in
  the 48 hours prior. Minors that test positive for COVID-19 are required to be isolated for 10 days from the
  date the positive test was collected, or 10 days from the date of symptom onset if symptomatic.

  EIS facilities are required to report positive and negative COVID-19 rapid antigen test results to the local
  health department. CDC SWBMHTF collects aggregate, non-identifiable positive COVID-19 test results for
  each EIS and reports them to ORR. EIS facilities are also required to complete the “Emergency Intake Site
  (EIS) Discharge and Transfer Record of Public Health and Medical Information” form for all minors
  discharged from an EIS. This form accompanies the minor to their final destination to ensure medical
  services are complete and not duplicated. Medical contractors provide public health and medical care at
  each EIS facility. The specific contractor at each facility varies. Medical contractors are required to adhere
  to all of the above requirements.


                                COVID-19 Plans on Vaccine Distribution

  On March 2, 2021, the President directed all states to prioritize school staff and childcare workers for
  COVID-19 vaccination, and is encouraging them to get teachers, school staff, and workers in childcare
  programs their first shot by the end of March. The Department of Health and Human Services has
  determined that staff in organizations caring for minors through the Unaccompanied Refugee Minors
  (URM) Program and Unaccompanied Children (UC) Care Provider Organizations are eligible for vaccination
  through this directive as childcare workers.

  The Pfizer-BioNTech COVID-19 vaccine is now authorized for use in persons aged 5 years and older. ORR
  will update COVID-19 vaccination guidance for the UC Program as new ACIP recommendations for
  pediatric populations are released.

  As of January 12, 2022, 54,804 (cumulative) minors have received the first dose of the COVID-19 vaccine
  in ORR care (e.g. some minors were vaccinated in home country), and 12,475 (cumulative) minors have
  received a second dose in ORR care.


                                                       15
Case 2:85-cv-04544-DMG-AGR Document 1220-1 Filed 01/21/22 Page 59 of 59 Page ID
                                 #:46516


  Under revised guidance issued by ORR on June 10, 2021, all age-eligible minors at licensed ORR care
  provider programs, ICF and EIS should receive the COVID-19 vaccine (see ORR Field Guidance #17, COVID-
  19 Vaccination of Unaccompanied Children (UC) in ORR Care). Minors who are newly referred to ORR care
  should receive the COVID-19 vaccine as part of their initial medical exam (IME) or modified health
  assessment (MHA). Minors who are in ORR care and have already completed their IME or MHA should be
  vaccinated as soon as possible, as long as vaccination does not delay reunification.


                                                   Summary

  The undersigned respectfully submits this report to the Court pursuant to the Court Order dated
  November 12, 2021. The undersigned will continue to work independently and with the Special Master
  and will continue to file interim reports per the Court’s directive to monitor facilities to assure compliance
  with CDC guidance and adherence to ORR guidelines.




                                                       16
